Case 0:01-cv-02086-DWF-AJB                    Document 350-2          Filed 08/31/2004            Page 1 of 12



2004 WL 1801184                                                                                              Page 1
 --- F.Supp.2d ---
(Cite as: 2004 WL 1801184 (E.D.Va.))


Only the Westlaw citation is currently available.           statute protecting right to make and enforce contracts
                                                            until after statute was amended to clarify that it
                                                            encompassed race discrimination in the termination
                                                            of contract, and therefore claim fell within scope of
     United States District Court, E.D. Virginia,           statute establishing four-year statute of limitations for
                Alexandria Division.                        causes of action arising under Act of Congress
                                                            enacted after December 1, 1990. 28 U.S.C.A. §
        James E. DAVIS, Plaintiff,                          1658(a); 42 U.S.C.A. § 1981.
                    v.
AMERICAN SOCIETY OF CIVIL ENGINEERS, et                     [2] Civil Rights       0
             al., Defendants.                               78k0 k.

              No. 1:03CV1469 (GBL).                         Former employee's claim alleging discriminatory
                                                            termination, in violation of federal civil rights statute
                    Aug. 9, 2004.                           protecting right to make and enforce contracts,
                                                            accrued when nonprofit employer's board of directors
                                                            voted not to renew former employee's contract during
Background: Former employee sued former                     meeting at which former employee was informed of
employer and three of its former presidents, alleging,      such vote. 42 U.S.C.A. § 1981.
inter alia, discriminatory termination, harassment on
basis of race, and breach of contract. Former               [3] Civil Rights       0
employer moved for summary judgment.                        78k0 k.

  Holdings: The District Court, Lee, J., held that:         Pursuant to doctrine of respondeat superior, nonprofit
  (1) four-year statute of limitations applied to           employer was liable for tortious actions of its
discriminatory termination claim;                           executive committee and board of directors, which
  (2) former employee did not establish                     acted as employer's agents. Restatement (Second) of
discriminatory termination through direct evidence;         Agency § § 215-216, 219.
  (3) former employee was not terminated, and thus
could not establish prima facie case of discriminatory      [4] Principal and Agent          0
termination;                                                308k0 k.
  (4) former president's statements did not support
liability for discriminatory termination;                   Under the doctrine of "respondeat superior," a
  (5) former employee failed to establish that he           principal can be liable for the tortious actions of its
suffered harassment in support of racial harassment         agents or servants. Restatement (Second) of Agency
claim;                                                      § § 215-216, 219.
  (6) alleged harassment was not severe or pervasive
enough to bring it within purview of statute                [5] Civil Rights       0
protecting right to make and enforce contracts; and         78k0 k.
  (7) former employee was not terminated without
cause and thus was not entitled to severance payment.       Plaintiff may seek to prove a cause of action under
                                                            statute protecting right to make and enforce contracts
Motion granted.                                             either by direct evidence or by the judicially created
                                                            McDonnell Douglas burden-shifting proof scheme.
                                                            42 U.S.C.A. § 1981.
[1] Limitation of Actions        0
                                                            [6] Civil Rights       0
241k0 k.                                                    78k0 k.
Discharged employee could not assert claim for              To prove by direct evidence claim of discriminatory
discriminatory discharge under federal civil rights         termination under statute protecting right to make and

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Case 0:01-cv-02086-DWF-AJB                    Document 350-2           Filed 08/31/2004           Page 2 of 12
2004 WL 1801184                                                                                              Page 2
 --- F.Supp.2d ---
(Cite as: 2004 WL 1801184 (E.D.Va.))

enforce contracts, plaintiff must show that (1) he is a      employer exercised its contractual option not to
member of a racial minority, (2) defendant intended          renew employee's employment contract at end of
to discriminate against him on the basis of race, and        contractual term, and therefore could not establish
(3) the discrimination concerned a privileged                prima facie case of discriminatory termination under
protected under statute. 42 U.S.C.A. § 1981.                 statute protecting right to make and enforce contracts.
                                                             42 U.S.C.A. § 1981.
[7] Civil Rights      0
78k0 k.                                                      [11] Civil Rights       0
                                                             78k0 k.
Under      McDonnell       Douglas      burden-shifting
framework, plaintiff asserting race discrimination           Former employee did not show that former
claim under statute protecting right to make and             employer's nondiscriminatory reason for not
enforce contracts must first establish a prima facie         renewing his empl oyment contract, that it was
case of discrimination, to which defendants may              unhappy with his difficult and ineffective
respond by producing evidence that they acted with a         management style, was pretext for race
legitimate, nondiscriminatory reason for their               discrimination when evidence offered to show that
treatment of plaintiff; finally, plaintiff may adduce        "schemes" and "hidden agendas" were behind non-
evidence showing that defendants' proffered reason           renewal decision indicated that while politics were at
was mere pretext and that race-based discrimination          play, former employee's race was not issue; therefore,
was the real reason for defendants' less than favorable      former employee failed to establish claim of
treatment of plaintiff. 42 U.S.C.A. § 1981.                  discriminatory termination under statute protecting
                                                             right to make and enforce contracts. 42 U.S.C.A. §
[8] Civil Rights      0                                      1981.
78k0 k.
                                                             [12] Civil Rights       0
To prove a prima facie case of discriminatory                78k0 k.
termination under statute protecting right to make and
enforce contracts, employee had to must show that            Neither comment by nonprofit company's former
(1) he belonged to racial minority, (2) he was               president, made outside limitations period, that
qualified for job from which he was discharged, (3)          executive director should resign nor former
despite his qualifications and performance, he was           president's comment that executive director had
terminated, and (4) after his termination, defendants        "gorilla management style" supported claim for
retained someone in an unprotected class. 42                 discriminatory termination against former president
U.S.C.A. § 1981.                                             under statute protecting right to make and enforce
                                                             contracts, even assuming that latter comment was
[9] Civil Rights      0                                      racist remark, inasmuch as passing racial remarks did
78k0 k.                                                      not trigger liability under statute, and executive
                                                             director did not show that nondiscriminatory reason
Former employee failed to establish by direct                given for decision not to renew his contract, that he
evidence that former employer had intended to                had bad management style, was pretext for
discriminate against him on basis of race in deciding        discrimination. 42 U.S.C.A. § 1981.
not to renew his contract, and thus failed to establish
discriminatory termination claim under statute               [13] Civil Rights       0
protecting right to make and enforce contracts, when         78k0 k.
employee alleged "schemes" and "hidden agendas,"
but showed no direct evidence of discriminatory              Amendment to statute protecting right to make and
animus by employer or any of its agents, particularly        enforce contracts made it possible for employees to
those on its executive committee and board of                sue employers for discriminatory practices occurring
directors. 42 U.S.C.A. § 1981.                               during course of employment, and therefore
                                                             employee's claim of racial harassment was governed
[10] Civil Rights         0                                  by statute establishing four-year statute of limitations
78k0 k.                                                      for causes of action arising under Act of Congress
                                                             enacted after December 1, 1990. 28 U.S.C.A. §
Employee was not terminated when nonprofit                   1658(a); 42 U.S.C.A. § 1981(b).


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Case 0:01-cv-02086-DWF-AJB                   Document 350-2          Filed 08/31/2004            Page 3 of 12
2004 WL 1801184                                                                                             Page 3
 --- F.Supp.2d ---
(Cite as: 2004 WL 1801184 (E.D.Va.))

                                                           racist overtones was made by member of employer's
[14] Civil Rights      0                                   board of directors, and entire board of directors
78k0 k.                                                    considered issue of whether to renew employee's
                                                           employment contract and voted 15 to 10 against
To show harassment under statute protecting right to       renewal. 42 U.S.C.A. § 1981.
make and enforce contracts, plaintiff must show that
(1) he is a member of a protected racial class, (2) he     [18] Contracts        0
was subjected to unwelcome or subjectively offense         95k0 k.
harassment, (3) the harassment was based upon his
race, (4) the harassment was sufficiently severe and       Employer properly and legally exercised its right not
pervasive to alter the conditions of his employment        to renew executive director's employment contract
and create an objectively hostile or abusive work          when employer's executive committee, as was its
environment, and (5) the employer knew or should           prerogative, voted on renewal of contract and
have known of the harassment and failed to take            contract was properly voted on by employer's board
remedial action. 42 U.S.C.A. § 1981.                       of directors, and therefore employee, who served
                                                           through end of contractual period, was not terminated
[15] Civil Rights      0                                   without cause and was not entitled to severance
78k0 k.                                                    payment.

Employee failed to establish that he suffered              [19] Civil Rights         0
harassment in support of racial harassment claim           78k0 k.
under statute protecting right to make and enforce
contracts, inasmuch as complained-of actions,              Issue of whether directors of nonprofit organization
including refusal of board of directors to reconsider      were immune from liability under state and federal
its vote not to renew employee's employment                statutes granting volunteer directors and officers of
contract, board's decision not to award severance          tax-exempt organizations immunity from civil
package, electronic mails concerning employee's use        liability for acts taken in such capacities was
of vacation time, and meeting at which employee was        rendered "moot" by failure of organization's former
informed that "smoking gun" would be used against          executive director to establish that his civil rights had
him if he sought legal action, constituted routine         been violated. 42 U.S.C.A. § 14503; West's V.C.A. §
business dealings. 42 U.S.C.A. § 1981.                     13.1-870.
                                                            Barry Coburn, Esquire, David Schertler, Esquire,
[16] Civil Rights      0                                   Coburn & Schertler, Washington, DC, for Plaintiff's
78k0 k.                                                    Counsel.

Factors that should be considered in determining           Thomas L. McCally, Esquire, Tina M. Maiolo,
whether alleged harassment was severe or pervasive         Esquire, Carr Maloney, P.C., Washington, DC, for
enough to bring it within the purview of statute           Defendant's Counsel.
protecting right to make and enforce contracts
include the totality of the circumstances, the
frequency of the discriminatory conduct and its                        MEMORANDUM OPINION
severity, whether the conduct is physically
threatening or humiliating or a mere offensive             LEE, District J.
utterance, and whether the conduct unreasonably
interferes with an employee's work performance. 42          *1 THIS MATTER is before the Court on
U.S.C.A. § 1981.                                           Defendants' Motion for Summary Judgment.
                                                           Defendants move this Court to grant summary
[17] Civil Rights      0                                   judgment on three of Plaintiff's claims: Count I:
78k0 k.                                                    Discriminatory Termination; Count III: Harassment
                                                           on the Basis of Race; and Count V: Breach of
Alleged harassment suffered by employee was not            Contract. Seven issues exist before the Court. First,
severe or pervasive enough to bring it within purview      whether Plaintiff's discriminatory termination claim
of statute protecting right to make and enforce            is barred by the statute of limitations. Second,
contracts when only one statement with possible            assuming arguendo, that Plaintiff's discriminatory


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Case 0:01-cv-02086-DWF-AJB                      Document 350-2         Filed 08/31/2004           Page 4 of 12
2004 WL 1801184                                                                                             Page 4
 --- F.Supp.2d ---
(Cite as: 2004 WL 1801184 (E.D.Va.))

termination claim is within the statute of limitations,      ASCE, and three of its former presidents--Daniel S.
whether the American Society of Civil Engineers              Turner, Robert W. Bein, and H. Gerald Schwartz, Jr.
("ASCE"), through the doctrine of respondeat                 Plaintiff worked for Defendant ASCE from 1989
superior, is liable for the actions of its agents under      through 2002. ASCE is a New York incorporated
Plaintiff's discriminatory termination claim. Third,         nonprofit that has its principal place of business in
assuming arguendo, that Plaintiff's discriminatory           Reston, Virginia.
termination claim was within the statute of
limitations, whether Plaintiff fails to prove that            *2 Defendants employed Plaintiff in March 1989 as
ASCE and Defendant Turner discriminatorily                   Assistant Executive Director and Chief Operating
terminated him, in violation of 42 U.S.C. § 1981.            Officer. In 1994, Plaintiff was selected as ASCE's
Fourth, whether Plaintiff's racial harassment claim in       Executive Director and Chief Executive Officer.
violation of 42 U.S.C. § 1981 is barred by the statute       Plaintiff's tenure as CEO of ASCE was governed by
of limitations. Fifth, whether Plaintiff sufficiently        an employment contract. In July 1997, ASCE's
proves that his alleged harassment was based upon            Executive Committee voted to extend Plaintiff's
his race and was sufficiently severe and pervasive to        employment contract until October 31, 2000. ASCE's
alter the conditions of his employment. Sixth,               Executive Committee also modified the terms of
whether Defendants breached Plaintiff's employment           Plaintiff's existing employment contract so that it
contract by failing to provide Plaintiff with severance      could renew Plaintiff's position for two -year periods
payments. Seventh, whether the individual                    after October 31, 2000 (the contract previously was
Defendants are immune from the lawsuit.                      eligible for renewal annually). On August 26, 1997,
                                                             Plaintiff and Defendants executed an addendum to
 Because the Defendants' Motion for Summary                  the employment contract, which provided that the
Judgment demonstrates that Plaintiff does not possess        employment contract would renew automatically for
genuine issues of material fact for trial, the Court         two years unless either party notified the other on or
grants Defendants' motion. Specifically, the Court           before November 1, 1999, and every other November
grants Defendants' motion for three reasons. First,          1st thereafter. Neither Plaintiff nor Defendants gave
while Plaintiff's discriminatory termination claim           the other notice of a non-renewal by November 1,
does fall within the statute of limitations, Plaintiff has   1999, and the employment contract automatically
not shown any direct evidence that ASCE or its               renewed through October 31, 2002.
agents, including Defendant Turner, discriminatorily
terminated Plaintiff. Plaintiff also fails to satisfy the     ASCE's Executive Committee has certain oversight
burden shifting test of McDonnell Douglas v. Green,          responsibilities for the operations of ASCE. It
411 U.S. 792, 93 S.Ct. 1817, 36 L.Ed.2d 668 (1973),          consists of seven members, including the Past-
because Plaintiff does not show that Defendants'             President, the President-Elect, and the Current
nondiscriminatory reason for not renewing his                President, as well as four Vice Presidents. Each year,
employment contract was a pretext for                        the Executive Committee also evaluated Plaintiff's
discrimination.                                              job performance.

 Second, while Plaintiff's racial harassment claim            At a meeting on April 27, 2000, the Executive
does fall within the statute of limitations, Plaintiff       Committee expressed concern to Plaintiff about the
fails to present evidence that either ASCE as an             resignation of two key staff members, Tina Masters
entity, and more specifically, the individual                and Hank Hatch, who had complained about
Defendants, harassed Plaintiff on the basis of his           Plaintiff's management style. At that meeting,
race. Finally, Defendants did not breach the terms of        members of the Executive Committee also discussed
Plaintiff's employment agreement because he was not          Plaintiff's job performance. The Executive
terminated without cause. Defendants' simply chose           Committee made a decision at that meeting not to
not to renew Plaintiff's contract. Defendants decision       renew Plaintiff's contract, but to allow Plaintiff to
not to renew Plaintiff's contract may have been              finish the remainder of his term through October 31,
political, but it was not discriminatory.                    2002. Plaintiff was present at this meeting and
                                                             inquired as to why the Executive Committee was
                      Background                             considering not renewing his contract. Defendant
                                                             Turner spoke of the resignations of the two key staff
 This case arises out of an employment relationship          people and expressed a concern about Plaintiff's
between Plaintiff and Defendants. Plaintiff James E.         management style. Specifically, Defendant Turner
Davis filed this lawsuit against four defendants:            stated that Plaintiff had a "gorilla management style."

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Case 0:01-cv-02086-DWF-AJB                    Document 350-2          Filed 08/31/2004            Page 5 of 12
2004 WL 1801184                                                                                              Page 5
 --- F.Supp.2d ---
(Cite as: 2004 WL 1801184 (E.D.Va.))

                                                            otherwise properly supported motion for summary
 The Executive Committee wrote a "notice of                 judgment; the requirement is that there be no genuine
termination" letter, which it attempted to deliver to       issues of material facts. See Anderson v. Liberty
Plaintiff on July 1, 2000. Plaintiff refused to accept      Lobby, Inc., 477 U.S. 238, 242 (1986). "Rule 56(e)
the letter at that time.                                    requires the nonmoving party to go beyond the
                                                            pleadings and by [his] own affidavits, or by the
 On October 18, 2000, the Board of Direction ("the          'depositions, answers to interrogatories, and
Board") met. ASCE's Board of Direction is composed          admissions on file,' designate 'specific facts showing
of 28 members, including the seven members of the           that there is a genuine issue for trial." ' Celotex Corp.
Executive Committee, and serves as the ASCE Board           v. Catrett, 477 U.S. 317, 324, 106 S.Ct. 2548, 91
of Directors. The Board voted in support of the             L.Ed.2d 265 (1986). This standard of review sets
Executive Committee's decision not to renew                 forth the procedural framework for the Court's
Plaintiff's employment contract.                            analysis; each subsection contains the rule of law that
                                                            applies to each individual claim.
 On October 9, 2001, Plaintiff received a formal,
written notice of non-renewal from President Bein           II. Analysis
confirming the October 18, 2000, Board of Direction
vote. Plaintiff remained employed with ASCE                 A. Count I: Discriminatory Termination
through the term of his contract, which expired on
October 31, 2002.                                            The Court holds that Plaintiff's claim of
                                                            discriminatory termination falls within the four year
 *3 Plaintiff now sues. On Defendants' Motion to            statute of limitations mandated by Congress in 28
Dismiss pursuant to Rule 12(b)(6) of the Federal            U.S.C. §      1658(a). However, Plaintiff fails to
Rules of Civil Procedure, this Court dismissed the          establish a prima facie case of discrimination under
following counts and claims: Count I: Conspiracy in         the burden shifting scheme of McDonnell Douglas.
violation of 42 U.S.C. § 1985; Count IV: Tortious           Therefore, the Court GRANTS Defendants' Motion
Interference with Business Relations; Count VI:             for Summary Judgment on Count I.
Tortious Interference with Contract.
                                                            I. Statute of Limitations
 Defendants seek summary judgment on the
remaining claims: Count I: Discriminatory                    [1] The Court holds that pursuant to the Supreme
Termination in violation of 42 U.S.C. § 1981; Count         Court's recent decision in Jones v. R.R. Donnelley &
III: Harassment on the basis of race in violation of 42     Sons Co., --- U.S. ----, 124 S.Ct. 1836, --- L.Ed.2d ---
U.S.C. § 1981; and Count V: Breach of Contract              - (2004), Plaintiff's claim of discriminatory
(Against Defendant ASCE only).                              termination in violation of 42 U.S.C. § 1981 falls
                                                            within 28 U.S.C. § 1658(a) 's four year statute of
                    Discussion                              limitations for actions arising under federal statutes
I. Standard of Review                                       enacted after December 1, 1990. The statute of
                                                            limitations started to accrue at the time of the Board
 Under Rule 56(c) of the Federal Rules of Civil             of Direction vote on Plaintiff's contract on October
Procedure, the Court must grant summary judgment            18, 2000. Plaintiff filed his lawsuit on April 21, 2003.
if the moving party demonstrates that there is no
genuine issue as to any material fact, and that it is        *4 Congress enacted 28 U.S.C. § 1658(a) on
entitled to judgment as a matter of law. See                December 1, 1990. The statute provides:
Fed.R.Civ.P. 56(c). In reviewing a motion for                 Except as otherwise provided by law, a civil action
summary judgment, the Court views the facts in a              arising under an Act of Congress enacted after the
light most favorable to the non-moving party.                 date of the enactment of this section may not be
                                                              commenced later than 4 years after the cause of
 Once a motion for summary judgment is properly               action accrues.
made and supported, the opposing party has the               28 U.S.C. § 1658(a) (2004). The Supreme Court in
burden of showing that a genuine dispute exists. See        R.R. Donnelley & Sons Co. concluded that a cause of
Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,          action "arises under an Act of Congress enacted after
475 U.S. 574, 586-87, 106 S.Ct. 1348, 89 L.Ed.2d            December 1, 1990 ... if the plaintiff's claim against
538 (1986). The mere existence of some alleged              the defendant was made possible by a post-1990
factual dispute between the parties will not defeat an      enactment." --- U.S. at ----, 124 S.Ct. at 1845. The

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Case 0:01-cv-02086-DWF-AJB                     Document 350-2          Filed 08/31/2004           Page 6 of 12
2004 WL 1801184                                                                                              Page 6
 --- F.Supp.2d ---
(Cite as: 2004 WL 1801184 (E.D.Va.))

Court reasoned that this construction of 28 U.S.C. §         not to renew Plaintiff's contract on April 27, 2000.
1658(a) best serves Congress' interest in alleviating        The critical final vote of ASCE's Board of Direction
the uncertainty inherent in the practice of borrowing        occurred on October 18, 2000. The final vote was 15
state statutes of limitations. Id.                           to 10 in favor of adopting the recommendation of the
                                                             Executive Committee. The Court holds that the
 In R.R. Donnelley & Sons Co., former employees of           statute of limitations started to accrue at the October
the company filed a class action suit alleging               18, 2000 meeting in which Plaintiff was in attendance
violations of 42 U.S.C. § 1981, as amended by the            when the Board of Direction informed Plaintiff of its
Civil Rights Act of 1991. Id. at 1839. Specifically,         vote not to renew his contract. Therefore, pursuant to
the plaintiffs alleged that they were subjected to a         the holding in R.R. Donnelley & Sons Co., the Court
racially hostile work environment, given an inferior         holds that Plaintiff's discriminatory termination claim
employee status, and wrongfully terminated or denied         is governed by 28 U.S.C. § 1658(a)'s four year
a transfer in connection with the closing of the             statute of limitations. Thus, Plaintiff's discriminatory
defendant's Chicago plant. Id. The defendant in R.R.         termination claim is not time barred.
Donnelley & Sons Co., like the defendants in this
case, moved for summary judgment on the basis that           ii. Respondeat Superior and ASCE
the applicable two year state statute of limitations
barred the plaintiffs' claims.                                *5 [3][4] The Court holds that the general principle
                                                             of agency applies in this case. Under the doctrine of
 In its May 3, 2004, decision, the Supreme Court held        respondeat superior, a principal can be liable for the
that the Civil Rights Act of 1991 overturned                 tortious actions of its agents or servants. See
Patterson v. McLean Credit Union, 491 U.S. 164,              Restatement (Second) of Agency § § 215-216, 219
109 S.Ct. 2363, 105 L.Ed.2d 132 (1989) (holding that         (1958); W. Prosser, Law of Torts § § 69-70 (4th
"the right to make ... contracts" in § 1981 extended         ed.1971). Defendants argue that the doctrine of
only to the formation of a contract, but not to              respondeat superior does not automatically apply in §
problems that may arise later from the conditions of         1981 cases. Defendants cite General Building
continuing employment)), by "defining the key                Contractors Ass'n v. Pennsylvania, 458 U.S. 375, 102
"make and enforce contracts" language of 42 U.S.C.           S.Ct. 3141, 73 L.Ed.2d 835 (1982). According to
§ 1981 to include the "termination of contracts and          Defendants, this case holds that Plaintiff must prove
the enjoyment of all benefits, privileges, terms, and        an independent intent to discriminate by ASCE in
conditions of the contractual relationship." 42 U.S.C.       order for ASCE to be liable for its own actions or the
§ 1981(b) (2004). Therefore, the Court held that the         actions of any of its agents. Defendants argue that,
plaintiffs' hostile work environment, wrongful               under this interpretation of General Building,
termination, and failure-to-transfer claims were made        Plaintiff has not shown an independent intent by
possible by the Civil Rights Act of 1991, and thus           ASCE to discriminate, and therefore, the doctrine of
arose under the amended provisions of 42 U.S.C. §            respondeat superior does not apply in this case.
1981. R.R. Donnelley & Sons Co., --- U.S. at ----, 124
S.Ct. at 1846.                                                General Building, however, does not stand for the
                                                             proposition that the doctrine of respondeat superior
 The instant case fits squarely within the                   does not apply in § 1981 cases. Rather, the General
jurisprudence of R.R. Donnelley & Sons Co. Plaintiff         Building Court held that vicarious liability via the
alleges in his Amended Complaint that "42 U.S.C. §           doctrine of respondeat superior did not apply under
1981, as amended, prohibits inter alia, discrimination       the specific facts of that case. The parties in General
on the basis of race relating to contract termination ."     Building were a union hiring hall and an
See Am. Compl. at 23. A claim for discriminatory             apprenticeship program. The Court stated:
termination arising under § 1981 is not a cause of             We have ... difficulty in accepting the application
action that Plaintiff could litigate in this Court prior       of traditional respondeat superior doctrine to the
to the statute's 1991 amendment. See R.R. Donnelley            class of contractor employers. In the run of cases,
& Sons Co., --- U.S. at ----, 124 S.Ct. at 1846.               the relationship between an employer and the union
                                                               that represents its employees simply cannot be
 [2] The alleged discriminatory decision that is at            accurately characterized as one between principal
issue in this lawsuit, i.e., the decision not to renew         and agent or master and servant. Indeed such a
Plaintiff's contract, had two key time dates-- the vote        conception is alien to the fundamental assumptions
of the Executive Committee and the vote of the                 upon which the federal labor laws are structured.
Board of Direction. The Executive Committee voted             Id. at 393.

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Case 0:01-cv-02086-DWF-AJB                     Document 350-2          Filed 08/31/2004           Page 7 of 12
2004 WL 1801184                                                                                              Page 7
 --- F.Supp.2d ---
(Cite as: 2004 WL 1801184 (E.D.Va.))

                                                             reason for their treatment of Plaintiff. Id. Finally,
 This distinction is not present in the instant case         Plaintiff may adduce evidence showing that the
before the Court. This case does not involve                 Defendants' proffered reason was mere pretext and
contractor employees, unions, or apprenticeship              that race based discrimination was the real reason for
parties. There is no question that under the general         the Defendants' less than favorable treatment of
application of the doctrine of respondeat superior, a        Plaintiff. Id. [FN1]
principal can be liable for the tortious actions of its
agent or servant. See Restatement (Second) of                 [9] First, as to Defendant ASCE, Plaintiff fails to
Agency § § 215-216, 219 (1958); W. Prosser, Law              satisfy the direct evidence test set forth in Morris.
of Torts § § 69-70 (4th Ed.1971). There is no                Plaintiff does establish that he is a member of a racial
question here that the Executive Committee and               minority. However, Plaintiff does not show by a
ASCE's Board of Direction acted as agents of ASCE.           preponderance of the evidence that ASCE intended to
Under the doctrine of respondeat superior, ASCE is           discriminate against him on the basis of race. Plaintiff
liable for the actions of its agents. Although the Court     alleges "schemes" and "hidden agendas," but shows
finds that ASCE is liable for the actions of its agents,     no direct evidence of discriminatory animus by
the Court fails to find any genuine issue of material        ASCE or any of its agents, particularly those on the
fact affirming liability of ASCE to Plaintiff.               Executive Committee or on the Board of Direction.

iii. Proof of ASCE's and Defendant Turner's                   [10] Second, Plaintiff also does not meet the burden
Discriminatory Termination                                   shifting test of McDonnell Douglas because he fails
                                                             to prove a prima face case of discrimination. Under
 [5] Although the Court has held that Plaintiff's claim      McDonnell Douglas, Plaintiff does establish that (1)
of discriminatory termination is not time barred, the        he belongs to a racial minority and (2) he was
Court finds that Plaintiff has failed to prove his           qualified for the job of ASCE Executive Director.
allegations of discriminatory termination under 42           However, the facts of this case do not demonstrate
U.S.C. § 1981 by either direct evidence or the               that Plaintiff was terminated by ASCE despite his
burden shifting framework of McDonnell Douglas. A            qualifications and performance. There is no evidence
plaintiff may seek to prove a § 1981 cause of action         that ASCE terminated Plaintiff. Plaintiff was a
either by direct evidence or by the judicially created       contractual employee. Terminating Plaintiff would
burden-shifting proof scheme in            McDonnell         mean that Plaintiff would not have completed a full
Douglas. See Hawkins v. PepsiCo, Inc., 203 F.3d              term of the contract, either with or without cause. In
274, 278 (4th Cir.2000).                                     fact, there is no dispute among the parties that
                                                             Plaintiff did complete the full term of the contract.
 *6 [6] To prove discriminatory termination by direct        ASCE simply exercised its contractual option not to
evidence, the plaintiff must show that (1) he is a           renew Plaintiff's employment contract.
member of a racial minority; (2) the defendant
intended to discriminate against him on the basis of          [11] Third, assuming, arguendo, that Plaintiff did
race; and (3) the discrimination concerned a                 meet his first burden under McDonnell Douglas and
privileged protected under § 1981. Morris v. Dillard         successfully pled a prima facie case, Plaintiff fails to
Dep't Stores, Inc., 277 F.3d 743, 751 (5th Cir.2001).        satisfy his second burden of showing that ASCE's
                                                             nondiscriminatory reason for not renewing Plaintiff's
 [7][8] Under the burden shifting framework of               employment contract was merely a pretext for its
McDonnell Douglas, Plaintiff must first establish a          discriminatory conduct. As discussed above, after
prima facie case of discrimination. Murrell v. Ocean         Plaintiff asserts his prima facie case, ASCE must
Mecca Motel, Inc., 262 F.3d 253, 257 (4th Cir.2001).         produce evidence that its decision to not renew
In order to prove a prima facie case, Plaintiff must         Plaintiff's contract arose from a legitimate,
show that (1) he belongs to a racial minority; (2) he        nondiscriminatory        reason.    The    legitimate,
was qualified for the job of ASCE Executive                  nondiscriminatory reason ASCE asserts, on behalf of
Director; (3) despite his qualifications and                 its agents, is that the organization made a legitimate
performance, he was terminated; and (4) after his            managerial decision not to renew Plaintiff's
termination, Defendants' retained someone in an              employment contract because Plaintiff had an
unprotected class. See McDonnell Douglas, 411 U.S.           undesirable management style.
at 802. The Defendants may respond to Plaintiff's
showing of a prima facie case by producing evidence           *7 In light of ASCE's perception of Plaintiff's
that they acted with a legitimate, nondiscriminatory         inadequacies as a manager, ASCE, through its

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Case 0:01-cv-02086-DWF-AJB                    Document 350-2          Filed 08/31/2004             Page 8 of 12
2004 WL 1801184                                                                                               Page 8
 --- F.Supp.2d ---
(Cite as: 2004 WL 1801184 (E.D.Va.))

Executive Committee and Board of Direction, wanted          nondiscriminatory personnel situations. Therefore,
a new leader. The record shows that some of ASCE's          the Court holds that Plaintiff's allegations of political
agents did not like Plaintiff, but that reason alone is     schemes and hidden agendas simply do not prove that
not discriminatory. Under Plaintiff's employment            ASCE's nondiscriminatory reason for its non-renewal
contract, Defendants could have picked any                  of Plaintiff's contract was merely a pretext for
nondiscriminatory reason not to renew the contract--        discrimination.
from the most odd (i.e. they did not like the way
Plaintiff dressed, for instance) to the reason stated        [12] For the same reasons Plaintiff cannot prove a §
here, that Plaintiff had a difficult and ineffective        1981 cause of action against ASCE, Plaintiff fails to
management style. Managerial boards of corporations         meet his burdens with respect to Defendant Turner.
can remove leaders simply because they "don't like          Plaintiff does bring up two incidents that he feels
them." There is nothing discriminatory on its face          indicate a racial intent by Defendant Turner. The first
about this. In Mereish v. Walker, 359 F.3d 330 (4th         is a comment Defendant Turner made in 1998 that
Cir.2004), the Fourth Circuit held that civil rights        Plaintiff should "resign." Plaintiff interpreted this as a
laws should not hinder nondiscriminatory corporate          racially tinged remark. Plaintiff has produced no
management decisions. That is the case here.                evidence to prove that this remark alone had any
                                                            racial meaning to it. Additionally, this remark was
 Plaintiff attempts to rebut ASCE's nondiscriminatory       made in 1998. Theoretically, the Court should not
reason for not renewing Plaintiff's employment              address it, since it is outside the scope of the four
contract by alluding to "schemes" and "hidden               year statute of limitations and Plaintiff has not pled a
agendas" designed by ASCE's agents to force him to          continuing violation.
leave the organization. Plaintiff submits to this Court
the October 18, 2000, statements of Mr. Delon                *8 Second, Plaintiff argues that Defendant Turner's
Hampton, President of the Board of Direction, to            statement that Plaintiff had a "gorilla management
support his assertion that schemes and hidden               style", which Turner made at the April 27, 2000,
agendas predicated the non-renewal of his                   Executive Committee meeting, was racist. Plaintiff
employment contract.                                        interpreted the comment to mean that Plaintiff was a
                                                            "gorilla", and further took that comment to be
 Mr. Hampton opined that the Executive Committee            synonymous with a racial remark. [FN3] The Court
made a politically based decision to oust Plaintiff         finds this comment to be tasteless, offensive, and
from his position for two reasons. See ASCE Board           most likely deriving from racist overtones. However,
of Direction Oct. 18, 2000 Meeting Tr. at 89-93.            even assuming that Defendant Turner's comment was
[FN2] First, Mr. Hampton contends that one of the           a racist remark, the Fourth Circuit has held that
members of the Executive Committee wanted                   passing racial remarks do not trigger § 1981
Plaintiff's job for themselves. Second, Mr. Hampton         sanctions. See Brown v. Eckerd Drugs, Inc., 663 F.2d
asserts that a member of the Executive Committee            1268, 1290 (1981).
had his own candidate for Plaintiff's position ready to
take the position when the Board of Direction did not        In Brown, the Fourth Circuit held, in commenting on
renew Plaintiff's contract. Id.                             a Title VII case (which is also applicable here in a §
                                                            1981 case), that "racial comments that are merely part
 Although the Court finds, like Mr. Hampton, that           of casual conversation, are accidental, or are sporadic
politics were at play in the Executive Committee and        do not trigger Title VII sanctions." Id. The facts of
Board of Direction's determination of whether to            Brown are much more severe that the conversation
renew Plaintiff's employment contract, the politics         between Plaintiff and Defendant Turner. In Brown,
involved, as messy and as unprofessional as they may        an employee heard another employee call her the "n-
have been, did not bear at all upon race and therefore      word." Id. at 1273. It was used one time in that case.
were nondiscriminatory. Corporations are "political         Id. In this case, Defendant Turner's "gorilla"
animals." Members of Boards all over the country,           comment was also used one time, at the April 27,
both profit and non-profit, have problems with CEO's        2000, Executive Committee meeting.
and concoct "schemes" and "hidden agendas" to get
these people out of the organization. That behavior          Furthermore, even assuming that Plaintiff has shown
alone is not discriminatory. Under the holding in           a prima facie case against Defendant Turner for
Mereish, corporations and business have to have             discriminatory termination, Plaintiff does not show
some leeway to conduct their businesses. The Court          pretext. Regardless of whether Defendant Turner had
cannot become an arbiter over political                     a hidden agenda or had contemplated getting rid of

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Case 0:01-cv-02086-DWF-AJB                    Document 350-2          Filed 08/31/2004          Page 9 of 12
2004 WL 1801184                                                                                            Page 9
 --- F.Supp.2d ---
(Cite as: 2004 WL 1801184 (E.D.Va.))

Plaintiff for years, his reasoning was that Plaintiff       Rights Act of 1991 made it possible for persons to
had a bad management style. This is an admissible           bring claims against employers for discriminatory
nondiscriminatory reason for not renewing Plaintiff's       practices occurring during the course of employment
employment contract.                                        under 42 U.S.C. § 1981.

 Therefore, for the reasons stated above, Plaintiff          As stated above, the instant case fits squarely within
does not have a genuine issue of material fact on           the jurisprudence of R.R. Donnelley & Sons Co.
Count I against Defendants ASCE and Turner. The             Plaintiff argues that racial harassment was
Court GRANTS Defendants' Motion for Summary                 perpetrated against him beginning in or about March
Judgment on Count I: Discriminatory Termination.            2000, less than four years before Plaintiff filed this
                                                            lawsuit on April 21, 2003. Because the alleged
B. Count III: Harassment on the Basis of Race in            harassment occurred during the course of Plaintiff's
Violation of 42 U.S.C. § 1981                               employment, the Court holds that Plaintiff's § 1981
                                                            harassment claim is not barred by § 1658(a)'s statute
i. Statute of Limitations                                   of limitations.

 [13] The Court holds that, pursuant to the Supreme         ii. Harassment on Basis of Race in Violation of 42
Court's recent decision in R.R. Donnelley & Sons Co.,       U.S.C. § 1981
Plaintiff's claim of harassment on the basis of race in
violation of 42 U.S.C. § 1981 is within 28 U.S.C. §          [14][15] The Court holds that Plaintiff has failed to
1658(a)'s four year statute of limitations for actions      adequately prove harassment under 42 U.S.C. §
arising under federal statutes enacted after December       1981, thereby failing to show a genuine issue of
1, 1990. The federal statute of limitations began           material fact on this claim. In order to show
accruing in March 2000. [FN4] Plaintiff filed his           harassment under § 1981, a plaintiff must show that
lawsuit on April 21, 2003.                                  (1) he is a member of a protected racial class; (2) he
                                                            was subjected to unwelcome or subjectively offense
 As discussed above, 28 U.S.C. § 1658(a) provides           harassment; (3) the harassment was based upon his
that civil actions arising under an Act of Congress         race; (4) the harassment was sufficiently severe and
enacted after December 1, 1990, have a statute of           pervasive to alter the conditions of his employment
limitations of four years. See 28 U.S.C. § 1658(a).         and create an objectively hostile or abusive work
The Supreme Court concluded in R.R. Donnelley               environment; and (5) the employer knew or should
Sons & Co. that a cause of action "arises under an          have known of the harassment and failed to take
Act of Congress enacted after December 1, 1990 ... if       remedial action. Meritor Savings Bank v. Vinson, 477
the plaintiff's claim against the defendant was made        U.S. 57, 91, 106 S.Ct. 2399, 91 L.Ed.2d 49 (1986);
possible by a post-1990 enactment." R.R. Donnelley          Harris v. Forklift Sys., Inc., 510 U.S. 17, 114 S.Ct.
Sons & Co., --- U.S. at ----, 124 S.Ct. at 1845.            367, 126 L.Ed.2d 295 (1993). Plaintiff has failed to
                                                            meet this test.
 *9 Congress amended 42 U.S.C. § 1981 by the Civil
Rights Act of 1991. The Act defined § 1981's "make           Plaintiff fails to demonstrate harassment under §
and enforce contracts" language to include the              1981 because all of Plaintiff's claims constituted
"termination of contracts and the enjoyment of all          routine business dealings. While Plaintiff does show
benefits, privileges, terms, and conditions of the          that he is a member of a protected class, Plaintiff
contractual relationship." 42 U.S.C. § 1981(b). The         does not satisfy the other requirements of a § 1981
Supreme Court in R.R. Donnelley Sons & Co. held             harassment claim set forth in Meritor Savings Bank
that the 1991 amendment overturned the holding of           and Harris. The evidence Plaintiff brings forth to
Patterson v. McLean Credit Union that the "right to         support his claim, particularly the decision of the
make contracts" only extended to the formation of a         Board not to reconsider its vote, the decision of the
contract, not the problems that may arise later from        Board not to award Plaintiff a severance package, the
the conditions of continuing employment. R.R.               e-mails between Plaintiff and Defendant Schwartz
Donnelley Sons & Co., --- U.S. at ----, 124 S.Ct. at        regarding the taking of Plaintiff's vacation, or even
1846. In so holding, the Supreme Court found that           the meeting in which Defendants stated that if
the Plaintiffs' claims of a hostile work environment        Plaintiff sought legal action they would use a
alleged violations of the amended statute and were          "smoking gun" against him, simply do not constitute
therefore governed by the federal four year statute of      harassment because they were conducted in the
limitations. This holding demonstrates that the Civil       course of business.

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Case 0:01-cv-02086-DWF-AJB                   Document 350-2          Filed 08/31/2004           Page 10 of 12
2004 WL 1801184                                                                                           Page 10
 --- F.Supp.2d ---
(Cite as: 2004 WL 1801184 (E.D.Va.))

                                                            which was to hide an illegal discriminatory motive."
 *10 [16][17] Furthermore, the Court in Harris              Pl. Opp. at 27. Therefore, according to Plaintiff,
articulated factors that should be considered in            Defendants' actions resulted in a termination without
determining whether alleged harassment was severe           cause in violation of his employment contract.
or pervasive enough to bring it within the purview of
Title VII (and therefore § 1981). See Harris, 510            Defendant ACSE argues that it complied with the
U.S. at 23. These factors include the totality of the       contractual provisions of Plaintiff's employment
circumstances, the frequency of the discriminatory          contract and that Plaintiff was not due a severance
conduct, its severity, whether the conduct is               package. Defendant ACSE further contends that
physically threatening or humiliating, or a mere            Plaintiff has not asserted that ASCE's decision not to
offensive utterance, and whether it unreasonably            renew violated any contractual provision or
interferes with an employee's work performance. Id.         agreement.
None of these factors are present in this case. The
best argument Plaintiff has is that Defendant Turner         *11 As demonstrated by review of the four-corners
stated that he had a "gorilla management" style. As         of Plaintiff's agreement, either party could opt not to
the Court explained above, it finds that this is an         renew the employment agreement upon written
offensive statement, and that it may suggest racist         notice no later than on or before November 1st of the
overtones. However, Defendant Turner made this              year prior to expiration of the then current term. See
statement only once. Defendant Turner was not the           Def.'s Mot. for Summ. J. Ex. C ¶ 1. "Either party's
sole decision maker in the decision not to renew            election not to renew under this paragraph shall not
Plaintiff's contract. The entire Board of Direction         be deemed a termination with or without cause under
considered the issue of whether to renew Plaintiff's        Paragraph 8 of the Agreement ." Id. Plaintiff does not
contract and voted 15 to 10 at its October 18, 2000,        dispute that if his employment agreement was not
meeting not to renew. Thus, even if Defendant               renewed, as opposed to his employment being
Turner's comment exhibited racist overtones, it was         terminated, Plaintiff is not entitled to a severance
not a factor in the fifteen votes cast not to renew         payment. See Def.'s Mot. for Summ. J. at Ex. D, p.
Plaintiff's contract. At this meeting, there was no         387:13-19. As discussed above, Defendant ASCE
reference to the "gorilla" statement by Defendant           needed no reason for non-renewal.
Turner or anyone else. The issue of Plaintiff's
management style was a factor in the Board of                There is no evidence for the Court to conclude that
Direction's decision. In addition, this statement alone     ASCE engaged in an ultra vires act by its procedure
does not come close to satisfying the severity of           in which it declined to renew Plaintiff's employment
pervasiveness test set forth in Harris.                     contract. The Executive Committee, as is its
                                                            prerogative, voted on the renewal of Plaintiff's
 Because Plaintiff has failed to allege conduct that        contract and the contract was properly voted on by
meets the Supreme Court's test for racial harassment        the Board of Direction. The Court finds that
in violation of 42 U.S.C. § 1981, the Court finds that      Defendant ASCE properly, and legally, exercised its
no genuine issues of material fact are in dispute.          right not to renew Plaintiff's contract. This action,
Therefore, the Court GRANTS Defendants' Motion              therefore, was not a "termination without cause," as
for Summary Judgment on Count III.                          Plaintiff contends. Because there is no genuine issue
                                                            of material fact here, the Court GRANTS Defendants'
C. Count V: Breach of Contract                              Motion for Summary Judgment on Count V.

 [18] The Court holds that Plaintiff's breach of            D. Individual Defendants' Immunity
contract claim fails to state a cause of action against
ACSE. Plaintiff argues that there was no valid Board         The Court holds that the individual Defendants are
of Direction vote regarding the non-renewal of his          not automatically immune from this lawsuit.
employment contract, thus creating Defendant's              Defendants Bein, Schwartz, and Turner argue that
noncompliance with the terms of the contract, which         they are automatically immune from this lawsuit
provided that Plaintiff would receive a severance           under 42 U.S.C. § 14503 and Va.Code. § 13.1-870.
package upon termination of the agreement.                  The Defendants assert that both of these provisions
Specifically, Plaintiff argues that the Board's October     grant volunteer directors and officers of tax-exempt
18, 2000, decision not to renew his contract was            organizations immunity from civil liability for acts
"procured through fraudulent misrepresentations by          taken in their capacities as officers or directors of
the Executive Committee to the Board, the purpose of        these organizations. Plaintiff counters by noting that

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Case 0:01-cv-02086-DWF-AJB                    Document 350-2          Filed 08/31/2004           Page 11 of 12
2004 WL 1801184                                                                                            Page 11
 --- F.Supp.2d ---
(Cite as: 2004 WL 1801184 (E.D.Va.))

42 U.S.C. § 14503(f)(D) states that the exception            Plaintiff's contract. For the foregoing reasons, it is
granting volunteer directors and officers of tax-            hereby ORDERED that Defendants' Motion for
exempt organizations immunity from civil liability           Summary Judgment is GRANTED. This case is
does not apply to "misconduct for which the                  CLOSED.
defendant has been found to have violated Federal or
State civil rights law."                                      The Clerk is directed to enter judgment in favor of
                                                             Defendants pursuant to Rule 58 of the Federal Rules
 [19] While the individual Defendants' are correct in        of Civil Procedure.
their assertion that both 42 U.S.C. § 14503 and
Va.Code § 13.1 -870 grant volunteer directors and             The Clerk is directed to forward a copy of this Order
officers of tax-exempt organization immunity from            to counsel.
civil liability for acts taken in their capacities as
officers or directors of these organization, 42 U.S.C.
§ 14503(f)(D) states that this exception does not                     FN1. Plaintiff originally filed suit for
apply to "misconduct for which the defendant has                      discriminatory      termination      against
been found to have violated a Federal or State civil                  Defendants ASCE, Turner, Schwartz, and
rights law." Therefore, the Court must first make a                   Bien. However, Plaintiff conceded in its
determination as to whether there is a genuine issue                  Memorandum in Opposition to Defendants'
of material fact regarding Plaintiff's civil rights                   Motion for Summary Judgment that
claims against the individual defendants before                       Defendants Schwartz and Bein were not
addressing the issue of immunity. However, based on                   involved in the decision to terminate
the Court's analysis, Plaintiff has failed to survive                 Plaintiff and, therefore, may not be held
summary judgment. Therefore, this argument is                         personally liable for that alleged
moot.                                                                 discriminatory action. Thus, the Court finds
                                                                      that Plaintiff's claim of discriminatory
                     Conclusion                                       termination is only alleged against
                                                                      Defendants ASCE and Turner.
 *12 In conclusion, Defendants' Motion for Summary
Judgment is granted because Plaintiff failed to show
that a genuine issue of material fact was in dispute                  FN2. Mr. Hampton: "My side of [the] story
with regards to his discriminatory termination, racial                is that last--whenever I came on the
harassment, and breach of contract claims. The                        executive committee as president-elect--
evidence is clear that Defendants were unhappy with                   every meeting the executive committee had,
Plaintiff's management style and wanted to remove                     we spend probably an hour or more talking
him from the organization. Plaintiff has failed to                    about [Plaintiff], and that discussion was led
rebut this proffered nondiscriminatory reason for his                 by Dan Turner, supported by the executive
termination and therefore does not establish that                     committee. I would think of them now as the
Defendants'     assertion     that    Plaintiffs  poor                gang of four and Machiavelli. The gang of
management style was the reason for the non-renewal                   four because they decided and they told
of his contract was a pretext for discrimination.                     people that they had four votes on the
                                                                      executive committee and they didn't care
 In addition, all of the events that Plaintiff                        what the presidents did ... Okay. There is a
characterizes as "harassments" were routine business                  hidden agenda here ... Now there is nothing
dealings. These particular dealings, specifically the                 new in ASCE about a president wanting to
vote of the Board and its prerogative not to                          get rid of an executive director. There's
reconsider its vote, were within the realms of                        nothing new about that. That's happened
Plaintiff's employment contract and basic business                    before. But when it happened before it was
management. The comments of the individual                            done with style and it was done with class."
Defendants, in particular the comment of Mr. Turner                   Id.
were not severe or pervasive enough to alter the
conditions of Plaintiff's employment.
                                                                      FN3. Mr. Delon Hampton, the President of
 Finally, the Plaintiff's breach of contract claim fails              ASCE's Board of Direction and also an
to state a cause of action against ASCE. Defendants                   African American, testified in his
properly, and legally, exercised its right not to renew               deposition:

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Case 0:01-cv-02086-DWF-AJB                  Document 350-2         Filed 08/31/2004   Page 12 of 12
2004 WL 1801184                                                                              Page 12
 --- F.Supp.2d ---
(Cite as: 2004 WL 1801184 (E.D.Va.))

        Q: What do you recall--what do you recall
        about the [gorilla] statement? A: I remember
        [Defendant Turner] making the statement,
        but I don't recall the timing.
        Q: Do you recall--what do you recall about
        this statement?
        A: How do you mean, what do I recall?
        Q: What do you recall the statement being,
        to the best of your ability to remember it
        now?
        A: He indicated something to the effect that
        he--that the executive director had a guerilla
        (sic) management style.
        Q: You heard him say that?
        A: Yes.
        Q: When you heard him say that, did you
        take any offense at it?
        A: Of course I took offense at it, yes.
        Q: And why?
        A: Because it is a stereotype for black
        people.
        Q: Can you--I know--it may be more
        obvious to you than us, but can you explain
        that to me? How did you, as an African-
        American person, take that guerilla (sic)
        comment?
        A: I did not like it very well.
        Q: Did you imply--did you view it as having
        racial overtones?
        A: It definitely has racial overtones ...


        FN4. Plaintiff asserts that material facts
        exist which are sufficient to show that any
        alleged racial harassment against Plaintiff
        began in or about March 2000 and was
        ongoing and continuous through October 31,
        2002. See Pl.'s Opp.'n to Def.'s Mot. for
        Summ. J. at 25.

2004 WL 1801184 (E.D.Va.)

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